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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                 Alexandria Division

 JOHN DOE,                                )
                                          )
              Plaintiff,                  )
                                          )
 v.                                       )            Civil No. 1:19-cv-00065 (AJT/MSN)
                                          )
 FAIRFAX COUNTY SCHOOL BOARD,             )
                                          )
              Defendant.                  )




                         BRIEF IN SUPPORT OF
           DEFENDANT’S MOTION TO DISMISS AMENDED COMPLAINT




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 February 25, 2019
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                                         INTRODUCTION

        The plaintiff was suspended from high school and reassigned to an alternative school for

 sexually harassing his female classmate. The classmate complained that Plaintiff persistently

 said that he wanted to “f---” her, sent her a Snapchat photograph of his fully-clothed crotch with

 the caption “do you want this in your mouth,” said he wanted her “between” him and his friend,

 and repeatedly poked her on the arms, leg, and stomach. Although Plaintiff denies doing those

 things, five other witnesses supported the victim’s account, including Plaintiff’s male friend,

 who forthrightly admitted his role in the harassment. Before any discipline was imposed,

 Plaintiff received notice of the accusations against him and a chance to tell his side of the story.

        This Court previously denied Plaintiff’s motion for a temporary restraining order, finding

 that Plaintiff was not likely to succeed on the merits of any of the three counts alleged in the

 original complaint. Plaintiff’s now-amended complaint likewise fails to add sufficient factual

 material to survive scrutiny. His Title IX claim and new Equal Protection claim lack merit

 because he fails to allege sufficient facts to plausibly show that he was disciplined on account of

 gender bias or because the school system treats boys differently from girls. His Free Speech

 claim fails because the school system’s definition of sexual harassment provided fair warning

 that Plaintiff’s harassing conduct was prohibited. And his Due Process claim fails because he

 had notice of the charges against him and an opportunity to tell his side before discipline was

 imposed. Plaintiff’s novel claim that he was entitled to various courtroom-like procedures in a

 high-school disciplinary setting has no basis in law, in this or any other circuit.

                                     STATEMENT OF FACTS

        In considering a motion to dismiss under Rule 12(b)(6), the Court must “consider as true

 all well-pleaded allegations in the complaint, matters of public record, and documents attached to

 the motion to dismiss that are integral to the complaint and of unquestioned authenticity.”

                                                   1
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 Woods v. City of Greensboro, 855 F.3d 639, 642 (4th Cir. 2017); Philips v. Pitt Cty. Mem’l

 Hosp., 572 F.3d 176, 180 (4th Cir. 2009) (same). 1

        A.      The Student Rights & Responsibilities policy prohibits sexual harassment.

        Virginia law requires public school systems to notify parents each year about the

 “standards of student conduct” that apply to their children. Va. Code Ann. § 22.1-279.3(C)

 (2016). The standards implemented by the Fairfax County School Board are set forth in the

 Student Rights & Responsibilities handbook (“SR&R”) (Ex. 6). The SR&R provides that

 “[s]tudents may be disciplined by school officials, to include suspension, reassignment,

 expulsion, and exclusion from school and all school-sponsored activities, for prohibited conduct

 occurring on school property . . . .” Ex. 6 at 50. “Prohibited conduct” specifically includes:

                Sexual harassment (which includes unwelcome sexual advances,
                regardless of sexual orientation; requests for sexual favors; and
                other inappropriate verbal, electronic, or physical conduct of a
                sexual nature that creates an intimidating, hostile, or offensive
                environment).

 Id. at 54 (footnote omitted); see also id. at 82 (“sexual harassment” definition).

        B.      Robinson’s administrators suspend Plaintiff for sexual harassment.

        In December 2018, Plaintiff was a senior at Robinson Secondary School in Fairfax

 County, Virginia. Am. Compl. ¶ 4. Plaintiff “befriended a female student” that year “who was


 1
   Consistent with that standard, the facts discussed here come from the amended complaint and
 six other documents: (1) the transcript of the December 21, 2018 disciplinary hearing, referenced
 in the amended complaint (¶¶ 18-24, 26), and previously filed in connection with the TRO
 briefing at ECF 13-1 (Exhibit 1); (2) the student witness statements referenced in the amended
 complaint (¶¶ 8-10) and previously filed by Plaintiff at ECF 5-2 & 5-3 (Exhibit 2); (3) the
 Principal’s letter of December 10, 2018 (Am. Compl. ¶ 17), previously filed by Plaintiff at ECF
 5-4 (Exhibit 3); (4) the Hearing Officer’s January 10, 2019 letter (Am. Compl. ¶ 28), previously
 filed by Plaintiff at ECF 5-8 (Exhibit 4); the Detailed Incident Report (Am. Compl. ¶ 12),
 previously filed by Plaintiff at ECF 5-5 (Exhibit 5); and the School Board’s Student Rights &
 Responsibilities handbook, https://tinyurl.com/y2yks4y9, previously filed at ECF 10-1 at 11
 (Exhibit 6).

                                                   2
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 new to Robinson.” Id. ¶ 5. Consistent with the terminology used at the TRO hearing, she will be

 referred to here as “Female Student 1.” She and Plaintiff “had classes together and would see

 each other at school outside of class. Plaintiff flirted with [her], which included friendly

 conversations, putting his arm around her and playfully poking her in class.” Id. ¶ 6. Plaintiff

 claims that she “did not reject these overtures. In fact, she would often seek out [Plaintiff] Doe’s

 company and return his flirtations.” Id.

        On December 6, 2018, another male student (“Male Student 1”) “slapped [Female

 Student 1] on her buttocks.” Id. ¶ 7. Plaintiff was present but did not himself “take any part in

 the slapping.” Id. “After being assaulted by [Male Student 1], [Female Student 1] filed a

 complaint with a school administrator, accusing [Plaintiff] Doe and [Male Student 1] of sexual

 harassment. The accusations included the assault by [Male Student 1] and allegations of sexual

 harassment by Doe.” Compl. ¶ 8.

        “An investigation was initiated by Travis Hess, an assistant principal at Robinson.” Id.

 Female Student 1 told Hess that Plaintiff and Male Student 1 had started “sexually harassing” her

 about a month before. Ex. 2 at 4. She said they told her “how they want to ‘get me in between

 them.’” Id. When she would walk down the hall, they would yell “Damn looking good” and

 similar catcalls. Id.; Ex. 1, 12-21-18 Tr. at 12:11–14. She said that, earlier that day, Male

 Student 1 “slapped my butt” in the locker bay. Ex. 2 at 4. And when she turned around, “the

 boys were kind of pointing back and forth at each other, like, he did it, no, he did it, no, he did it,

 and kind of laughing, or whatever.” Ex. 1, 12-21-18 Tr. at 11:7–10. Female Student 1 was

 accompanied by her friend, Female Student 2, who told Hess that she witnessed the Plaintiff

 asking Female Student 1 “Hey, are you trying to fuck?” Id. at 13:1–2; see generally Ex. 5 at 1.




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        Hess obtained and reviewed the security-camera video of the locker-bay incident and

 contacted the parents of Female Student 1, meeting with the family the next day, December 7.

 Ex. 1, 12-21-18 Tr. at 13:3–18. Female Student 1 told Hess that the harassment had been going

 on for “about four weeks.” Id. at 13:18. Female Student 1 again described Plaintiff’s “in

 between them” remark, adding that Plaintiff also “sent her a Snapchat of his fully clothed-

 crotch” with the caption “‘Do you want this in your mouth?’” Id. at 13:22–14:3. In English

 class, Plaintiff “would poke her in a flirtatious matter, either on the arm, or on the leg, or on the

 stomach,” even though “she tried to make it clear that she was not comfortable with that.” Id. at

 14:7–11. She would tell him “[t]hat’s enough” or move her chair away. Id. at 14:12–13. But

 when she told him “it’s not going to happen,” he responded “I will have sex with you at some

 point.” Id. at 14:14–16. See also Ex. 5 at 2 (Detailed Incident Report).

        In a victim-impact statement, Female Student 1 said that the comments by Plaintiff

 started “in a humorous way” but got “worse” and “physical.” Ex. 2 at 9. The comments made

 her “very uncomfortable.” Id. She said that when Plaintiff “talks to me or touches me I tell him

 to stop and that I’m not comfortable with it but he remains persistent.” Id. She said she “was

 hesitant to say anything about this situation to an adult because I felt bad for getting the [two]

 boys in trouble but once it got to a certain point it was the right thing to do.” Id.

        Hess interviewed Female Student 3 about the locker-bay incident. Ex. 1, 12-21-18 Tr. at

 14:20 to 15:3. Female Student 3 confirmed that, after Male Student 1 slapped the buttocks of

 Female Student 1, both boys were “pointing to each other and laughing.” Id. at 15:2–3. She

 added that both boys had previously said “multiple times” that “they want to fuck us.” Id. at

 15:4–6; Ex. 2 at 5. Female Student 3 said that Plaintiff told her that he would “bang the shit out

 of me in his bed.” Ex. 1, 12-21-18 Tr. at 15:7–9; Ex. 2 at 5.



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        Male Student 1 was interviewed by Hess on the morning of December 7 and later gave a

 written statement on December 9. Ex. 1, 12-21-18 Tr. at 16:2–7; Ex. 2 at 2–3 (written

 statement). Male Student 1 admitted to having touched Female Student 1 on the buttocks, for

 which he was “truly sorry”; he hoped that she “and her family will forgive me for my actions.”

 Ex. 2 at 2–3. But he also said that Plaintiff was the one who had told Female Student 1 “We

 want you in between us.” Id. at 2. Male Student 1 acknowledged, “now looking back, how

 those [prior] exchange[s] would be perceived as threatening.” Id.

        Female Student 4 spoke to Hess on December 7. Ex. 1, 12-21-18 Tr. at 15:10–11. She

 revealed that she too felt “very uncomfortable” by the way [Plaintiff] talks to [Female Student 1].

 “He always talks about sexual activity with her even when she tells him to stop.” Ex. 2 at 8.

 “Not only does he use nasty words, he also touches her when she has told him not to.” Id. One

 time she heard Plaintiff tell Female Student 1 “You telling me I can’t get it makes me want it

 even more. I’m gonna get it.” Id. He also told her that “You’re gonna be in the middle of me

 and [Male Student 1].” Id. She recounted that Plaintiff once commented that Female Student 1

 was “just playing hard to get,” but “I know she wants me.” Id.; see also Ex. 1 at 15:10–16:1.

        Hess called Plaintiff to his office on the morning of Monday, December 10. Ex. 1, 12-

 21-18 Tr. at 17:15–16. Hess thought “the best thing to do, was to inform the parents and [Doe]

 at the same time of the allegations.” Id. at 17:17–19. Plaintiff’s mother was called and offered

 the opportunity to attend in person, but she elected to participate by speaker phone; Plaintiff’s

 father joined the call thereafter. Id. at 17:21–18:4.

        Hess “made them aware of all of these allegations.” Id. at 18:5–8. Plaintiff “denied

 saying any of these things; denied the Snapchat, denied any of the comments—the in between

 us—any of the other sexually explicit stuff. He did say that he felt that he was flirtatious with



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 [Female Student 1]; that he had put his arm around her in English class, and maybe poked her on

 the arm, but didn’t believe that he poked her on the legs, or on the stomach.” Id. at 18:9–17.

 Plaintiff also denied telling Female Student 1 he wanted to have sex with her. Id. at 18:18–20;

 see Ex. 5 at 2-3 (Detailed Incident Report). Plaintiff theorized to Hess that “the girls had kind of

 corroborated their story, and gotten together against him.” Ex. 1, 12-21-18 Tr. at 18:22–19:2.

        Hess told the family that Plaintiff did not have to provide a written statement, but

 Plaintiff volunteered one. Id. at 19:3–6. Plaintiff’s written statement acknowledged that “I am

 being accused of sexual harassment” but said “I feel this is not true.” Ex. 2 at 1. He admitted

 telling a friend that he thought Female Student 1 is “attractive” and that “I would hook up with

 her.” Id. He admitted “flirting” with her, putting his “arm around her,” and having “poked her

 in class.” Id. He denied saying he wanted to “fuck” her and denied having “snapchatted her any

 inappropriate things.” Id. He felt “that I should apologize” and then “never talk to her or her

 friends ever again and this issue [will] never occur again.” Id. While Plaintiff was writing his

 statement, Hess asked why Plaintiff’s friend would have attributed the in-between-us comment

 to him, to which Plaintiff responded “I thought we were friends; that’s messed up.” Ex. 1, 12-

 21-18 Tr. at 19:12–18.

        Hess found Female Student 1 and the other students he interviewed to be credible. Ex. 1,

 12-21-18 Tr. at 22:22–23:2. Although Plaintiff told Hess that he thought the girls had “got[ten]

 together and corroborated their story,” Hess interviewed them separately, except for Female

 Student 2, who had accompanied Female Student 1 when she first reported the harassment. Id. at

 23:5–20. Hess also found Plaintiff’s male friend to be credible because he had been “honest”

 about “his own misconduct.” Id. at 24:1–5. By contrast, Hess did not find Plaintiff’s denials to

 be credible. Id. at 24:19–25:6.



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        After consulting with Hess, Robinson Principal Matthew Eline decided to suspend

 Plaintiff for ten days and refer him to the Division Superintendent to consider further discipline.

 Id. at 50:4–10; Ex. 3 at 1. Hess telephoned Plaintiff’s mother to tell her about the suspension and

 to ask her to pick up her son from school. When the mother arrived, Hess showed her the

 videotape of the December 6 incident; she disagreed that the tape showed Plaintiff laughing

 when Male Student 1 slapped Female Student 1’s buttocks, saying that the tape only showed

 Plaintiff’s head from behind. Ex. 1, 12-21-18 Tr. at 50:21–51:8.

        The Principal’s December 10, 2018 letter to Plaintiff’s parents confirmed the

 “conversation on December 10th, when you were informed that your son . . . would be

 suspended from school for ten school day(s) and referred to the Division Superintendent” to

 consider further discipline. Ex. 3 at 1. It stated that the “decision to suspend [Doe] and to make

 this disciplinary referral was made after he was advised of the suspected infraction and the facts

 known to school personnel were explained to him. [Doe] was given the opportunity to present

 his version of the incident before the decision to suspend him was made.” Id.

        The amended complaint asserts that the December 10 letter was “not received until

 December 20, 2018, the day before the [Hearing Officer’s] hearing.” Am. Compl. ¶ 17.

 Although that assertion is false, 2 we will assume it to be true for purposes of this motion.

        Hess drafted a Detailed Incident Report (Ex. 5) on or about December 10. Am.

 Compl. ¶ 16. Plaintiff claims that the report omitted “exculpatory” evidence that Hess had

 collected in the form of a statement from one witness—Female Student 5. Id. ¶ 16. But Hess

 explained those circumstances at the disciplinary hearing before the Hearing Officer.


 2
  See Declaration of Dana Scanlan ¶ 8 (ECF 10-2) (stating that a copy of the 12-10-2018 letter
 was included in the disciplinary packet picked up from the Hearings Office by Plaintiff’s father
 on December 13, 2018).

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        Female Student 5 initially told Hess on December 7 that she had “never heard [Plaintiff]

 say anything sexually inappropriate.” Ex. 1, 12-21-18 Tr. at 16:15–17. After Hess submitted his

 report, Female Student 5 returned to him on December 12 to admit that she had not been truthful

 because “she was friends with [Plaintiff]” and “didn’t want [him] to get into trouble.” Id. at

 16:18–17:3. She then provided a written statement that Plaintiff had made various “sexual

 comments” about Female Student 1, “like ‘Oh, I’m going to fuck the shit out of her.’” Ex. 2 at

 10. Female Student 1 would tell him to stop, but he said that telling him to stop just made him

 want “to fuck her more.” Id. At first, Female Students 1 and 5 “thought it was funny[,] but it

 eventually got out of hand,” with Plaintiff continuously making statements about “wanting to

 fuck” Female Student 1. Id. She said he boasted that he would be “‘fucking’ her by the end of

 the year or adding [her] to his ‘collection.’” Id.; see also Ex. 1, 12-19-18 Tr. at 17:6–14.

        Copies of the written witness statements of Female Students 1–5 were provided to

 Plaintiff’s family in advance of the disciplinary hearing before the Superintendent’s Hearing

 Officer, although the names of the students were redacted. See Ex. 1, 12-21-18 Tr. at 49:14–17;

 Ex. 2 (witness statements); Ex. 7, 1-23-19 Tr. at 10:6 (noting Plaintiff had the statements).

        C.      The Superintendent’s Hearing Officer confirms the suspension and reassigns
                Plaintiff to an alternative high school.

        The Superintendent’s Hearing Officer, Lisa S. Forrest, conducted a disciplinary hearing

 on December 21, 2018, attended by Plaintiff, his parents, Principal Eline, and Assistant Principal

 Hess. Am. Compl. ¶¶ 17–21; Ex. 1, 12-21-18 Tr. at 1–3. Plaintiff acknowledged at the outset

 that he was accused of sexual harassment. Ex. 1, 12-21-18 Tr. at 8:3–5. The names of Female

 Students 1 and 3 were known to him and his parents, and their true names were used without

 pseudonyms at the hearing. Id. at 10:3–10; 65:13–19.




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        Hess explained his investigation and his findings, describing what he had been told by

 Female Students 1–5, Male Student 1, and the Plaintiff. Id. at 10:13–26:10. Principal Eline

 explained his rationale for suspending Plaintiff, stating that safety was “the most important job

 that I have,” and “not just safety for [Plaintiff] but for all of our students.” Id. at 26:14–7. He

 said that “[w]hen somebody is harassed, it’s difficult to learn well.” Id. at 26:18–27:1.

        Hearing Officer Forrest then heard Plaintiff’s account of the incident and the accusations

 against him. Id. at 27:17. Plaintiff admitted that he knew that school rules do not allow him to

 “improperly touch anyone” and that sexual harassment is not allowed. Id. at 31:2–10. But he

 disagreed with “most” of what Hess described, except that he admitted being present when Male

 Student 1 “slapped” Female Student 1 “on the butt.” Id. at 28:2–5. Plaintiff said “I don’t recall

 laughing, but then again, I don’t understand how laughing is an issue.” Id., 28:6–8. When asked

 if it was appropriate to laugh when a female student is slapped on the buttocks, he answered “I

 laugh when I’m uncomfortable.” Id. at 28:11–17.

        Plaintiff said that the allegations against him “came at me out of nowhere.” Id. at 28:20–

 21. While he admitted having flirted with Female Student 1 and being “nice” and “kind” to her,

 he denied doing anything “inappropriate with her,” insisting they were “friends.” Id. at 29:3–13.

 He claimed that she had never told him to “stop” or that he was “bothering her.” Id. at 29:18–21.

        Plaintiff denied telling Female Student 1 that he wanted her “in between” him and Male

 Student 1. Id. at 33:14–16. Plaintiff also denied poking her anywhere except on her “shoulder or

 arm,” which he said he did “one time” in a “teasing, friendly way.” Id. at 34:1–13. He denied

 using Snapchat to invite fellatio but admitted being friends with her on that social media

 platform. Id. at 34:22–35:8. The Hearing Officer asked about the other accusations of catcalling

 and inappropriate comments, which Plaintiff also denied. Id. at 35:9–22.



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        When asked why he thought Female Student 1 would “make this up,” Plaintiff answered

 “I honestly don’t know where this is coming from. You know, she came across as someone

 [who] was really shy and friendly; I thought we were okay friends.” Id. at 36:4–9; see also id. at

 33:17–22 (same). He also said he didn’t know why Male Student 1—his friend of “[f]ive or six

 years”—would attribute the “in between us” comment to Plaintiff. Id. at 37:17.

        The Hearing Officer called for the videotape of the December 6 locker-bay incident. Id.

 at 43:21–6. During the break, Plaintiff alleges that Hess and Eline remained in the room for an

 “ex parte conference,” Am. Compl. ¶ 24, but he does not allege what they discussed; neither

 Plaintiff nor his parents voiced any complaint about it afterwards when the hearing resumed. See

 Ex. 1, 12-21-18 Tr. 44. The Hearing Officer then played the videotape. Id. at 44:7-45:14.

        The Hearing Officer next heard from Plaintiff’s parents. Plaintiff’s mother complained

 that Hess had questioned Plaintiff outside of the parents’ presence when he asked why Male

 Student 1 would attribute the “in between us” comment to Plaintiff. Id. at 47:16–22. The

 Hearing Officer asked Hess to respond; Hess said that he had asked that question in passing and

 that it was the only question posed outside of the parents’ presence. Id. at 48:1–16. Hearing

 Officer Forrest observed that, although the discipline packet given to the family included

 redacted written statements from the other witnesses, it did not have the written statement of

 Male Student 1; she directed that a redacted copy be provided to the family. Id. at 48:17–49:17.

        Plaintiff’s mother next complained that the school system had not followed its own rules

 because the family had not received the Principal’s December 10 letter until the day before the

 hearing. Id. at 52:1–19. She also said that, if there had been a problem in Plaintiff’s English

 class, the school should have told the parents. Id.at 53:17–54:8. The Hearing Officer noted that

 the English teacher’s report showed that she had not observed Plaintiff’s actions towards Female



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 Student 1. Id. at 54:10–20. Plaintiff’s mother further complained that Hess is “an educator, an

 administrator; he’s not an investigator,” id. at 55:3–7, and that her son was punished in this “so-

 called investigation” without “due process,” id. at 56:6–17.

        The Hearing Officer responded that due process called for Plaintiff to be informed of the

 accusations against him and given a chance to respond, which appeared to have been done. Id. at

 56:20–57:5, 58:11–13. She asked Principal Eline if there had been a delay in mailing the

 December 10 letter, to which he replied “not that I’m aware of.” Id. at 57:6–8.

        Plaintiff’s father complained that “this process is highly flawed” and that his son was the

 “victim.” Id. at 59:22, 60:6–7. He blamed his son’s poor grades on the suspension and

 complained that his son “was not afforded due process.” Id. at 60:7–16. He said that “a case

 built by an accuser and her friends, holds no validity in any court of law.” Id. at 60:21–22.

        Plaintiff’s father added that “Mr. Hess is an educator and an administrator, he’s not an

 investigator,” and that the school should have done “a more thorough investigation.” Id. at 61:1–

 11. He complained that the written statement from Female Student 1 was vague and had little

 detail. Id. at 61:12–18. He argued that no punishment was appropriate because the Fairfax

 Police had declined to bring charges. Id. at 62:18–63:14. He said he did not blame Hess, noting

 “my son absolutely adores that guy.” Id. at 63:22–64:6.

        Plaintiff’s father submitted supporting statements from two students, one accusing

 Female Student 1 of saying untruthful things about a boy she previously dated, and another from

 a girl claiming to have seen Female Student 1 flirting with Plaintiff. Id. at 64:9–65:3. Plaintiff’s

 mother also said that Female Student 3 had been texting with her son “as though nothing was

 going on,” “acting like his friend,” while “backhandedly writing this stuff” about him; she said

 the Hearing Officer could do “whatever you please” with that. Id. at 66:3–68:19.



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        In response to the father’s comments, the Hearing Officer further questioned Hess about

 Female Student 1’s statements. Hess explained that Female Student 1 had offered more details

 during her interview than she put in her written statement, but she had declined to provide further

 written statements. Id. at 67:10–18.

        Hearing Officer Forrest invited final comments by Plaintiff. He said he felt “horrible that

 [Female Student 1] feels this way. I didn’t see this coming, because I thought we were good

 friends.” Id. at 68:20–69:4.

        At the hearing’s conclusion, Hearing Officer Forrest found that, “notwithstanding

 [Plaintiff’s] denials, I do find that he made inappropriate comments towards another student.

 That his involvement was not only substantiated by the victim, but also a number of other

 students who school officials found to be credible, to include the other boy who’s involved, who

 had no reason to falsely implicate [Plaintiff].” Id. at 70:3–11. So the Hearing Officer confirmed

 the ten-day suspension, extended it pending a written decision, and promised a written decision

 within ten school days. Id., 70:12–17.

        The Hearing Officer issued her written decision on January 10, 2019 (Ex. 4), four school

 days after the disciplinary hearing. 3 After “careful consideration of all the information,” the

 Hearing Officer concluded that Plaintiff had violated “School Board policy by sexually

 harassing a female student (by virtue of his repeated inappropriate and sexual comments,

 gestures, and improper touching) at school.” Ex. 4 at 2. That misconduct was “substantiated by

 multiple credible witnesses, to include the other boy involved who had already admitted his own

 misconduct to school officials and had no reason to falsely implicate” Plaintiff. Id. at 3. She


 3
  The school system’s winter break lasted from Monday, December 24, 2018, through Friday,
 January 4, 2019. See FCPS Standard Calendar for School Year 2018–19 at
 https://www.fcps.edu/index.php/calendars/2018-2019-fcps-standard-school-year-calendar.

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 found that, while expulsion was unwarranted, Plaintiff should be reassigned to Mountain View

 High School effective immediately. Id. She advised the family of their right to appeal her

 decision to the School Board. Id. at 5.

          D.     Plaintiff files suit here.

          Having recently turned 18, Doe filed his initial complaint here on January 16, 2019,

 ECF 1, and an amended complaint on February 12, ECF 22. Plaintiff claims in Count I that the

 School Board violated Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681–1688,

 asserting that he was treated more harshly because he is male. Am. Compl. ¶¶ 39–41, 46-47.

 Count II alleges a claim under 42 U.S.C. § 1983 that the School Board violated Doe’s First

 Amendment rights “by punishing him for his speech” and “using a harassment policy and an

 improper touching policy that is unconstitutionally vague.” Id. at 11 (¶ 46). 4 Count III adds a

 second § 1983 claim for denying him procedural due process. Finally, Count IV (newly added)

 asserts that the Board also violated the Equal Protection Clause on the theory that “Board

 employees investigated and punished Doe for sexual harassment when female students who

 engage in activity that is materially indistinguishable from the activity of which Doe was accused

 are not investigated or punished.” Id. at 14 (¶ 57).

          The day after commencing this litigation, Plaintiff appealed the Hearing Officer’s

 decision to the School Board. Ex. 7, 1-23-19 Tr. at 4:16. The Amended Complaint does not say

 what happened in that appeal.

          E.     The Court denies Plaintiff’s motion for a temporary restraining order,
                 finding that he is not likely to succeed on his legal claims.

          Plaintiff moved for a temporary restraining order to be restored to Robinson Secondary

 School and the wrestling team. ECF 4 & 5. The Court denied that motion on January 23, 2019.

 4
     The Amended Complaint repeats paragraph numbers out of order beginning at page 11.

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 ECF 15 (Order), Ex. 7 (transcript of bench ruling). The Court found that Plaintiff was not likely

 to prevail on his Title IX claim, Ex. 7 at 6:8–12, or his First Amendment claim, id. at 6:13–7:15.

 The Court also found that Plaintiff’s Due Process claim would likely not succeed because

 Plaintiff was on notice of the claims against him and had an adequate opportunity to tell his side,

 and because courts have not required in the secondary school context the type of procedural

 protections Plaintiff demands here, id. at 7:16–12:6.

                                             ARGUMENT

         “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim

 has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

 reasonable inference that the defendant is liable for the misconduct alleged.” Id. The pleading

 “must ‘possess enough heft’—that is, ‘factual matter,’” to make the plaintiff’s claims

 “plausible,” not merely “conceivable.” United States ex rel. Garzione v. PAE Gov’t Servs., Inc.

 164 F. Supp. 3d 806, 811 (E.D. Va. 2016) (Trenga, J.) (citations and quotations omitted).

         While properly pleaded facts must be construed “in the light most favorable to the

 plaintiff,” Philips, 572 F.3d at 180, the Court “need not accept legal conclusions drawn from the

 facts nor accept as true unwarranted inferences, unreasonable conclusions or arguments.” Corr

 v. Metro. Wash. Airports Auth., 800 F. Supp. 2d 743, 745 n.2 (E.D. Va. 2011) (Trenga, J.), aff’d,

 740 F.3d 295 (4th Cir. 2014) (citing Philips). “Nor must [the Court] accept as true allegations

 that contradict matters properly subject to judicial notice or by exhibit.” Veney v. Wyche, 293

 F.3d 726, 730 (4th Cir. 2002) (citation and quotation marks omitted). Thus, if there is a conflict

 between the factual allegations in the amended complaint and the exhibits attached to the motion



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 to dismiss, the exhibits control. Id.; Corr, 800 F. Supp. 2d at 745 n.2 (considering numerous

 matters of public record attached to motion to dismiss).

        Consistent with this Court’s ruling when it denied a TRO, not one count of the amended

 complaint alleges a plausible claim for relief.

 I.     Plaintiff has failed to plead a Title IX violation (Count I).

        Title IX provides that no person shall “on the basis of sex” be “excluded from . . . denied

 the benefits of . . . or . . . subjected to discrimination under any education program or activity

 receiving Federal financial assistance.” 20 U.S.C. § 1681(a). Congress expressly authorized an

 administrative enforcement mechanism in the statute. Id., § 1682. But the Supreme Court has

 also recognized an implied private right of action, Cannon v. Univ. of Chicago, 441 U.S. 677,

 709 (1979), which allows plaintiffs to recover both money damages and equitable relief,

 Franklin v. Gwinnett Cty. Pub. Schs., 503 U.S. 60, 76 (1992). Because Title IX draws its

 authority from the Spending Clause, educational institutions can be liable only for their own

 intentional misconduct; their liability may not be premised on vicarious liability or constructive

 knowledge. Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 285 (1998). Similarly, Title

 IX does not permit a claim based on “disparate impact.” Brzonkala v. Va. Polytechnic Instit. &

 State Univ., 169 F.3d 820, 827 n.2 (4th Cir. 1999) (en banc), aff’d on other grounds sub nom.

 United States v. Morrison, 529 U.S. 589 (2000); Doe v. Rector & Visitors of George Mason

 Univ., 132 F. Supp. 3d 712, 731–32 (E.D. Va. 2015).

        When a student’s Title IX claim asserts that an educational institution has reached an

 erroneous outcome with regard to the discipline imposed, the plaintiff must show not only that

 procedural flaws led to the wrong outcome, but that the decision-makers were motivated by

 gender bias. Doe v. Marymount Univ., 297 F. Supp. 3d 573, 583–84 (E.D. Va. 2018). We show

 in Part III below why the procedures used by the school system do not violate the Due Process
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 Clause. For the same reason, Plaintiff has not pleaded facts sufficient to show that procedural

 flaws led to his being wrongly found to have committed sexual harassment.

        In addition, he has failed to plead facts sufficient to show that he was disciplined because

 of gender bias. A “conclusory allegation of gender discrimination [is] not sufficient to survive a

 motion to dismiss.” Marymount, 297 F. Supp. 3d at 584 (quoting Doe v. Cummins, 662 F. App’x

 437, 452 (6th Cir. 2016)). Instead, the plaintiff must “plead sufficient facts to create an inference

 that he was wrongfully accused and that he was wrongfully adjudicated guilty and disciplined, in

 part because of his gender.” Id. at 584 (emphasis added); see also Yusuf v. Vassar Coll., 35 F.3d

 709 (2d Cir. 1994) (“A plaintiff must thus also allege particular circumstances suggesting that

 gender bias was a motivating factor behind the erroneous finding.”).

        To be sure, Plaintiff broadly asserts that the school system was biased against him

 because he is “male” and that he would have been treated more leniently if he had been female.

 E.g., Am. Compl. ¶¶ 43, 46–47. He also claims that “[m]ale students at schools governed by

 Defendant are more likely to be disciplined than female students for the same offense.” Id. ¶ 48.

 He says that “female students are almost never punished at all for conduct that is materially

 indistinguishable from the conduct of which Doe has been accused.” Id. ¶ 47.

        Such conclusory allegations, without any supporting facts, flunk the Supreme Court’s

 Iqbal/Twombly test and require dismissal under Rule 12(b)(6). See, e.g., George Mason Univ.,

 132 F. Supp. 3d at 732–33 (“[P]laintiff’s two allegations that gender bias is the ‘only’ explana-

 tion for the outcome of his proceeding are entirely conclusory and entitled to no weight under

 Twombly.”). Plaintiff fails to identify any example to support his claims. He cites no female

 student, for instance, who escaped discipline despite having sexually harassed another student.

        Twombly held that a plaintiff must plead “enough facts to state a claim to relief that is



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 plausible on its face.” Id. at 570. The Supreme Court applied that rule again in Iqbal, reiterating

 that allegations that “are no more than conclusions[] are not entitled to the assumption of truth.”

 Id. at 679. Iqbal’s allegations that the defendants acted “solely on account of [his] religion, race,

 and/or national origin and for no legitimate penological interest” were thus “bare assertions . . .

 not entitled to be assumed true.” Id. at 680–81. The Fourth Circuit holds that Iqbal/Twombly’s

 “heightened standard applie[s] to all civil actions, including claims of discrimination.” Woods,

 855 F.3d at 647 (emphasis added). Indeed, it recently applied Iqbal/Twombly in a Title IX case.

 See Feminist Majority Found. v. Hurley, 911 F.3d 674, 685 (4th Cir. 2018).

        The Iqbal/Twombly standard forecloses crediting Plaintiff’s conclusory claims that the

 “defendant” discriminated against Doe because he is male. It is certainly possible that a

 decision-maker in a hypothetical case could discriminate against a student on account of sex-

 based animus. But a suspension for sexual harassment is also consistent—indeed, much more

 so—with the inference that the decision-maker genuinely believed that the student engaged in

 disciplinable conduct. “An administrative decisionmaker [is] entitled to a ‘presumption of

 honesty and integrity,’” a presumption that is overcome only by “a strong showing of bad faith or

 improper behavior.” Prof’l Massage Training Ctr., Inc. v. Accreditation Alliance of Career

 Schs. & Colls., 781 F.3d 161, 177–78 (4th Cir. 2015) (citation and quotation marks omitted). The

 Amended Complaint fails to make that “strong showing” here.

        For instance, Plaintiff asserts in his amended complaint that Hess “believed that Doe was

 more of a threat due to gender stereotypes, specifically because [Doe] is a large male and his

 accuser is a smaller.” Am. Compl. ¶ 38. Here again, Plaintiff pleads no facts to support that

 accusation. And even accepting it as true, it fails to make the Title IX claim “plausible.” For

 one thing, the allegation does not show that Hess wrongly believed Female Student 1, or Female



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 Students 2-5, because they were female. Indeed, Hess found Plaintiff’s male friend credible

 when he revealed Plaintiff’s role in saying he wanted Female Student 1 “between” the two boys.

 Ex. 1, 12-21-18 Tr. at 24:1–5. Plaintiff thus fails to identify any fact showing that Hess’s

 credibility findings were skewed by gender bias.

        For another, Plaintiff fails to allege how any supposed gender bias on Hess’s part affected

 Principal Eline’s decision to suspend him, or Hearing Officer Forrest’s decision to affirm the

 suspension and determine that reassignment was appropriate. In other words, the allegation

 against Hess fails to make it plausible that Plaintiff was “wrongfully adjudicated guilty and

 disciplined, in part because of his gender.” Marymount, 297 F. Supp. 3d at 584.

         Plaintiff also tries to show that Hearing Officer Forrest was motivated by gender bias

 because “she referred to [Female Student 1] as the ‘victim’ before she heard any evidence of

 whether Doe had done anything that could be construed as sexual harassment.” Am. Compl. ¶

 19. But Plaintiff himself acknowledges that Female Student 1 is a victim; she was “assaulted”

 by Male Student 1, who slapped her buttocks in Plaintiff’s presence. Am. Compl. ¶ 8. In fact,

 both of Plaintiff’s parents called Female Student 1 a “victim” at the disciplinary hearing. Ex. 1,

 12-21-18 Tr. at 58:19 (mother), 62:11 (father). In any case, Forrest’s use of “victim” does not

 show that she was gender-biased against Plaintiff. It speaks volumes that Plaintiff can point to

 nothing in the transcript of the proceeding to support his “gender bias” claim here.

        Plaintiff also gets no traction from his claim that “[a]n elected member” of the School

 Board “has commented that male students are not treated fairly in disciplinary proceedings

 involving allegations of a sexual nature that are adjudicated by School Board employees.” Am.

 Compl. ¶ 42. Even if accepted as true, that alleged statement fails to show that Eline, Hess, or

 Forrest treated Doe unfairly because he is a boy. In any event, the statement is inadmissible



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 hearsay. Fed. R. Evid. 802. What’s more, the statement of a single member cannot bind the

 School Board because an elected board speaks only through its collective action. That is why a

 chairman’s unilateral statement is inadmissible to bind the board, Bd. of Zoning Appeals v.

 CaseLin Systems, Inc., 256 Va. 206, 214, 501 S.E.2d 397, 401 (1998); and why minutes of board

 actions are irrelevant to determining a board’s intent, W.S. Carnes, Inc. v. Bd. of Sup’rs of

 Chesterfield Cty., 252 Va. 377, 385, 478 S.E.2d 295, 300-01 (1996) (affirming trial judge’s

 ruling excluding minutes of board meeting because “evidence of the Board’s intent or motive in

 enacting ordinances is irrelevant to our consideration whether they are valid laws”). If a Title IX

 claim can be based on a general statement by a lone board member that boys had been treated

 unfairly, then every male student who is ever disciplined at any school could make a federal case

 out of it. Iqbal/Twombly is not so easily circumvented.

        Finally, Plaintiff cannot salvage his claim by alleging that he was disciplined more

 harshly as a knee-jerk reaction to prior OCR investigations and national media reports of male

 sexual assaults. Am. Compl. ¶ 45. Here again, no facts are pleaded to make it plausible that

 such events influenced Hess, Eline, Forrest or the School Board. “[I]t is not reasonable to infer

 that” school officials have “a practice of railroading students accused of sexual misconduct

 simply to appease the Department of Education and preserve its federal funding.” Doe v. Coll. of

 Wooster, 243 F. Supp. 3d 875, 887 (N.D. Ohio 2017) (citation and quotation omitted). Without

 supporting facts to show that this school system somehow knuckled-under to such pressure in

 this case, the Title IX claim must be dismissed. See George Mason Univ., 132 F. Supp. 2d at

 733 n.27 (finding Title IX claim insufficient where plaintiff did “not allege any facts suggesting

 that plaintiff is being singled out as a man to make a point to the Office for Civil Rights”).




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 II.    The First Amendment does not shield sexual harassment and the SR&R fairly
        warned of the conduct for which Plaintiff was disciplined (Count II).

        Count II alleges that the School Board “violated Doe’s First Amendment rights by

 punishing him for his speech, using a harassment policy and an improper touching policy that is

 unconstitutionally vague and overly broad because it prohibits conduct that creates an ‘offensive

 environment.’” Am. Compl. ¶ 46. This count must be dismissed under controlling Supreme

 Court and Fourth Circuit precedent: Bethel School District No. 403 v. Fraser, 478 U.S. 675

 (1986), and Kowalski v. Berkeley County Schools., 652 F.3d 565 (4th Cir. 2011).

        The Supreme Court held in Fraser that a student was properly disciplined for giving a

 lewd nominating speech at a student assembly. 478 U.S. at 685. Unlike the explicit statements

 here that Plaintiff wanted to “f---” Female Student 1, the speech in Fraser involved sophomoric

 sexual metaphors praising a fellow student as, among other things, “firm in his pants” and “a

 man who takes his point and pounds it in.” Id. at 687 (Brennan, J., concurring in the judgment).

 “By glorifying male sexuality, and in its verbal content, the speech was acutely insulting to

 teenage girl students.” Id. at 683. The Court said that school officials have “an interest in

 protecting minors from exposure to vulgar and offensive spoken language.” Id. at 684. It held

 that the school system “acted entirely within its permissible authority in imposing sanctions . . .

 in response to his offensively lewd and indecent speech.” Id. at 685.

        Furthermore, the Court rejected the student’s claim that “he had no way of knowing that

 the delivery of the speech in question would subject him to disciplinary sanctions.” Id. at 686.

 “Given the school’s need to be able to impose disciplinary sanctions for a wide range of

 unanticipated conduct disruptive of the educational process, the school disciplinary rules need

 not be as detailed as a criminal code which imposes criminal sanctions.” Id. And although the

 student manual said nothing about lewd speeches, it placed students on notice that “[c]onduct


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 which materially and substantially interferes with the educational process is prohibited, including

 the use of obscene, profane language or gestures.” Id. at 678. That provided “adequate warning

 . . . that his lewd speech could subject him to sanctions.” Id. at 686.

        Similarly, the Fourth Circuit held in Kowalski that a student’s speech rights were not

 violated when she was suspended for bullying a fellow student through a social media website.

 652 F.3d at 575–76. Although the student manual did not prohibit off-campus cyberbullying, it

 said that “a student will not bully/intimidate or harass another student,” and “the prohibitions

 [we]re designed to regulate student behavior that would affect the school’s learning

 environment.” Id. at 575. Those general warnings sufficed to put the student “on notice” that

 her conduct would subject her to discipline. Id. at 576.

        Significantly, the Fourth Circuit has repeatedly recognized that Fraser created an

 “exception” to the rule in Tinker v. Des Moines Independent School District, 393 U.S. 503, 513–

 14 (1969), that school officials ordinarily may not restrict a student’s speech unless it threatens

 substantial disruption of school activities. See Hardwick v. Heyward, 711 F.3d 426, 435 (4th

 Cir. 2013); Newsom ex rel. Newsom v. Albemarle Cty. Sch. Bd., 354 F.3d 249, 256 (4th Cir.

 2003). “Under Fraser, the banned school speech need not meet Tinker’s disruption requirement;

 rather, speech in school can be banned if it is lewd, vulgar, indecent, or plainly offensive.”

 Newsom, 354 F.3d at 256. Fraser allows school officials to “‘prohibit the use of vulgar and

 offensive terms’ as part of their role in teaching students the ‘fundamental values of “habits and

 manners of civility” essential to a democratic society.’” Hardwick, 711 F.3d at 435 (quoting

 Fraser, 478 U.S. at 683).

        Fraser and Kowalski thus preclude Plaintiff’s claim that the First Amendment somehow

 shields him from being disciplined for the harassing conduct and comments at issue here. Fraser



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 shows that student speech in secondary schools is subject to greater regulation than the speech of

 adults in other settings. 478 U.S. at 682–83. Just as a high school student may be disciplined for

 wearing Cohen’s “F--- the Draft” jacket to school, id. at 683 (discussing Cohen v. California,

 403 U.S. 15 (1971)), Plaintiff can be disciplined for harassing his classmates by saying how

 much he wants to “f---” them.

        As for the School Board’s definition of “sexual harassment,” the SR&R in this case

 provides even clearer notice of prohibited conduct than the student-conduct manuals upheld in

 Fraser and Kowalski. The SR&R defines “sexual harassment” to include “unwelcome sexual

 advances, . . . requests for sexual favors; and other inappropriate verbal . . . or physical conduct

 of a sexual nature that creates an intimidating, hostile, or offensive environment.” Ex. 7 at 54.

 The SR&R also warns students that engaging in sexual harassment will subject them to

 suspension and other discipline. Id. at 53–54. As this Court found in denying the TRO, this

 provision “appears to adequately place a student on notice that the type of harassing conduct

 found to have taken place in this case was a violation of the handbook.” Ex. 7 at 7:6–8. 5

        So Plaintiff’s First Amendment claim must be dismissed.

 III.   Plaintiff fails to allege a due process violation (Count III).

        Under Virginia law, the “process” provided by a School Board for a long-term

 suspension includes an initial notice-and-hearing opportunity before the principal determines

 whether to suspend for up to ten days, an appeal to the division superintendent (or his hearing

 5
   Plaintiff’s extravagant claim that such statements constitute protected “speech” would be
 dubious even outside of the high school setting, as it would bring into question the
 constitutionality of the federal government’s definition of “sexual harassment” in employment
 cases brought under Title VII. See 29 C.F.R. § 1604.11(a) (2018) (defining “sexual harassment”
 as “[u]nwelcome sexual advances, requests for sexual favors, and other verbal or physical
 conduct of a sexual nature when,” among other things, “(3) such conduct has the purpose or
 effect of unreasonably interfering with an individual’s work performance or creating an
 intimidating, hostile, or offensive working environment.”).

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 officer), an appeal to the School Board, and then judicial review by the local circuit court. See

 Va. Code Ann. §§ 22.1-87, 22.1-277.05 (2016). Plaintiff appealed the Hearing Officer’s

 decision to the School Board on January 17, 2019. Ex. 7, 1-23-19 Tr. at 4:16. And the School

 Board was required to decide that appeal within 30 days. Va. Code Ann. § 22.1-277.05(A).

        The amended complaint is silent about what the School Board did. (The Board affirmed

 the suspension and reassignment, but that fact is not in the record.) Ordinarily, such a pleading-

 omission would warrant a dismissal with leave to amend, because the due process claim as

 pleaded is “premature.” Williamson Cty. Reg’l Planning Comm’n v. Hamilton Bank of Johnson

 City, 473 U.S. 172, 199 (1985); id. at 200 (explaining that how the State handled an administra-

 tive appeal “cannot be measured until a final decision is made”). 6 But since Plaintiff has already

 amended the complaint once, and since the underlying due process arguments fail as a matter of

 law, the Court should now dismiss this count with prejudice.

        A.      There was no due process violation because Plaintiff had notice of the
                accusations against him and an opportunity to present his side.

        Plaintiff’s due process claim fails at the outset because he had the minimum notice and

 opportunity to be heard that the Due Process Clause requires. To be sure, the Due Process

 Clause applies in public school settings to protect students who are subject to expulsion or

 suspension from public school “for more than a trivial period,” Goss v. Lopez, 419 U.S. 565, 576

 (1975), but the essence of due process “is the requirement that ‘a person in jeopardy of serious

 loss (be given) notice of the case against him and opportunity to meet it.’” Id. (quoting Joint


 6
   See also Collins v. Prince William Cty. Pub. Schs., No. 03-1455-A, 2004 U.S. Dist. LEXIS
 28298, *27 (E.D. Va. Apr. 21, 2004) (Hilton, J.) (“failure to pursue that appeal undermines his
 procedural due process claim”), aff’d sub nom. Collins v. Prince William County Sch. Bd., 142 F.
 App’x 144, 146 (4th Cir. 2005); Bernstein v. Menard, 557 F. Supp. 92, 93 n.1 (E.D. Va. 1983)
 (finding no viable due-process claim “because adequate post-punishment State remedies
 existed”), aff’d, 728 F.2d. 252 (4th Cir. 1984).

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 Anti-Fascist Refugee Comm. v. McGrath, 341 U.S. 123, 171–72 (1951) (Frankfurter, J.,

 concurring)). In the public school setting, due process requires, “[a]t the very minimum,” that

 “students facing suspension and the consequent interference with a protected property interest

 must be given some kind of notice and afforded some kind of hearing.” Id. at 579. In other

 words, school officials must “inform [a student] of his dereliction and . . . let him tell his side of

 the story in order to make sure that an injustice is not done.” Id. at 580.

        But the procedural protections required “to assure fairness” in administrative settings are

 not as elaborate as in judicial proceedings. Mathews v. Eldridge, 424 U.S. 319, 348 (1976). The

 “differences in the origin and function of administrative agencies ‘preclude wholesale

 transplantation of the rules of procedure, trial and review which have evolved from the history

 and experience of courts.’” Id. (quoting FCC v. Pottsville Broad. Co., 309 U.S. 134, 143 (1940))

 (emphasis added). “All that is necessary is that the procedures be tailored, in light of the

 decision to be made, to ‘the capacities and circumstances of those who are to be heard,’ to insure

 that they are given a meaningful opportunity to present their case.” Id. at 349 (quoting Goldberg

 v. Kelly, 397 U.S. 254, 268–69 (1970)).

        As this Court previously ruled, the “issue here is not whether the process used by the

 school system is the best or most effective system for ferreting out the truth of allegations.” Ex.

 7, 1-23-19 Tr. at 8:5–8. It is whether the process met the minimum requirement that “the student

 be given oral or written notice of the charges against him, and if he denies them an explanation

 of the evidence against him and an opportunity to present his side of the story.” Id., 9:16–19.

        Plaintiff’s due process claim fails that test. Plaintiff was twice given notice of the

 accusations and an opportunity to be heard: (1) on December 10, before he was initially

 suspended by Principal Eline, supra at 5–6; and (2) at the December 21 disciplinary hearing,



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 supra at 8-10. So this Court was right when it found that Plaintiff’s due process claim would

 likely fail because the basic requirements were satisfied:

                Here the plaintiff was on notice of the claims against him and the
                specific actions he was alleged to have committed. He was
                provided the statements made by witnesses. He was aware of the
                identity of some, but not all of the witnesses against him. Although
                he was given all the witnesses’ statements that were received even
                from those whose identities he may not have known. He was given
                the opportunity on two occasions to present his side of the
                controversy and to date the allegations against him have been
                reviewed on two separate occasions and an appeal is pending before
                the school board.

 Ex. 7, 1-23-19 Tr. at 10:4–14.

        B.      Plaintiff’s allegations against Hearing Officer Forrest cannot support
                municipal liability against the School Board.

        Part of Plaintiff’s due process claim is based on alleged transgressions by Hearing Officer

 Forrest. Plaintiff argues that Forrest “discounted Doe’s statements without any evidence, failed

 to ask questions about the credibility of a witness who had admitted to lying in the investigation,

 and engaged in an ex parte conference with Hess and Eline in a recess during the hearing.” Am.

 Compl. at 11 (¶ 52). None of those claims, even if true, would show a due process violation.

 But those allegations fail for a more fundamental reason: Plaintiff alleges no unconstitutional

 conduct by the School Board itself, and § 1983 does not permit vicarious liability to be imposed

 on municipalities for the actions of their subordinates. Monell v. New York City Dept. of Soc.

 Servs., 436 U.S. 658, 691 (1978).

        Recovery against a municipality is permitted under § 1983 only for “acts which the

 municipality has officially sanctioned or ordered.” Pembaur v. City of Cincinnati, 475 U.S. 469,

 480 (1986). So “when a subordinate’s decision is subject to review by the municipality’s

 authorized policymakers, they have retained the authority to measure the official’s conduct for

 conformance with their policies.” City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988). In

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 this situation, liability can be imposed on the municipality only “[i]f the authorized policymakers

 approve a subordinate’s decision and the [unconstitutional] basis for it.” Id. See Riddick v. Sch.

 Bd. of Portsmouth, 238 F.3d 518, 523–24 (4th Cir. 2000) (holding that school board could not be

 liable for decisions by superintendent and principal to retain athletic coach who secretly

 videotaped female athletes in locker room).

        The Pembaur/Praprotnik rule thus bars any due process claim against the School Board

 based on the allegedly unconstitutional actions of Hearing Officer Forrest, absent facts showing

 that the School Board adopted both her decision and the allegedly unconstitutional basis for it.

 Because the amended complaint alleges no such facts, it is fatally deficient.

        C.      High school students have no constitutional right in suspension proceedings
                to cross-examine witnesses or force the disclosure of witness names.

        Plaintiff is also wrong that he was denied due process because he could not cross-

 examine his accuser or the witnesses in the disciplinary proceeding and did not know the

 identities of all of the corroborating witnesses. Compl. at 13 (¶ 53(c)-(e)). As Mathews teaches,

 such trial-like procedures are not required in administrative settings. 424 U.S. at 348. In fact,

 the Fourth Circuit has never recognized a cross-examination right in academic settings, even at

 the university level. In Henson v. Honor Committee of the University of Virginia, 719 F.2d 69

 (4th Cir. 1983), the Fourth Circuit adopted the Fifth Circuit’s Dixon decision as an “accurate”

 “summary of minimum due process requirements for disciplinary hearings in [a college]

 academic setting.” Id. at 74 (discussing Dixon v. Ala. State Bd. of Educ., 294 F.2d 150, 159 (5th

 Cir. 1961)). Dixon made clear that “the right to cross-examine witnesses” was not

 constitutionally required. 294 F.2d at 159.

        Henson is still good precedent. For instance, the Fourth Circuit held in Butler that there

 is no constitutional right in a university disciplinary setting to a “trial-like proceeding, with the


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 attendant right to call and cross-examine witnesses.” Butler v. Rector & Bd. of Visitors of Coll.

 of William & Mary, 121 F. App’x 515, 520 (4th Cir. 2005). The Court said “we find no basis in

 the law . . . for importing such a requirement into the academic context.” Id. And district courts

 in this circuit have followed Henson and Butler in dismissing claims in the academic setting, at

 both the college and high-school level, that were premised on an alleged right to cross-examine.

 See Doe v. Loh, No. CV PX-16-3314, 2018 WL 1535495, at *7 (D. Md. Mar. 29, 2018) (“It is

 well settled that the accused is not entitled to ‘trial-like’ rights of confrontation or cross-

 examination at disciplinary proceedings.”), appeal docketed No. 18-497 (4th Cir. May 3, 2018);

 R.M.B. v. Bedford Cty. Sch. Bd., 169 F. Supp. 3d 647, 656 n.5 (W.D. Va. 2016) (following

 Butler). As Judge Smith put it, “[t]he general consensus among courts . . . is that there is no due

 process right to cross-examine witnesses or to examine the actual statements made by witnesses”

 in student-disciplinary proceedings. J.S. ex rel. Duck v. Isle of Wight Cty. Sch. Bd., 362 F. Supp.

 2d 675, 683 (E.D. Va. 2005) (collecting cases).

         Plaintiff misplaces his reliance on recent Sixth Circuit cases holding that, in certain

 circumstances at the university level, due process may require the ability to cross-examine the

 accuser. Doe v. Baum, 903 F.3d 575, 578 (6th Cir. 2018); Doe v. Univ. of Cincinnati, 872 F.3d

 393, 403 (6th Cir. 2017). For even the Sixth Circuit has explicitly rejected that requirement at

 the high school level. Newsome v. Batavia Local Sch. Dist., 842 F.2d 920, 924–26 (6th Cir.

 1988). The court in Newsome explained that cross-examination was less important in high-

 school disciplinary cases because school administrators generally have “particularized

 knowledge of the student’s trustworthiness” and access to their records, as well as the ability to

 “readily discover whether the student witness and the accused have had an amicable relationship

 in the past.” Id. at 924.



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        The Newsome court was particularly concerned that recognizing a constitutional right to

 confront and cross-examine witnesses and to force the disclosure of witness names would deter

 high-school students from coming forward:

                [I]t is critically important that we protect the anonymity of students
                who “blow the whistle” on their classmates who engage in drug
                trafficking and other serious offenses. Without the cloak of
                anonymity, students who witness criminal activity on school
                property will be much less likely to notify school authorities, and
                those who do will be faced with ostracism at best and perhaps
                physical reprisals.

 Id. at 925. The Sixth Circuit concluded that “the necessity of protecting student witnesses from

 ostracism and reprisal outweighs the value to the truth-determining process of allowing the

 accused student to cross-examine his accusers.” Id. So it held “that the burden of cross-

 examination on the administration of school discipline outweighs the benefits to be derived from

 that procedure.” Id.

        In fact, no federal circuit has found a due-process right to cross-examine witnesses in

 high-school disciplinary proceedings. That theory has been affirmatively rejected not only by

 the Sixth Circuit, but by the Seventh and Tenth Circuits as well. See Coronado v. Valleyview

 Pub. Sch. Dist., 537 F.3d 791, 796 (7th Cir. 2008) (following Newsome); Watson ex rel. Watson

 v. Beckel, 242 F.3d 1237, 1242–43 (10th Cir. 2001) (finding no “right to cross-examine

 witnesses” in secondary-school setting). This Court was correct when it found that the Fourth

 Circuit has never recognized the right claimed here, that other circuits have not recognized any

 such right within a secondary school, and that Plaintiff has failed to cite any case to support his

 argument. Ex. 7, 1-23-19 Tr. at 10:15–11:8.

        D.      Student disciplinary proceedings require no presumption of innocence or
                standard of proof.

        Plaintiff has also failed to allege a due process violation on the theory that the SR&R has


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 no “presumption of innocence” or “standard of proof.” Am. Compl. at 12-13 (¶ 53(a)–(b)). For

 starters, Plaintiff pleads no facts suggesting that he was presumed guilty, let alone that the

 absence of an explicit standard of proof made any difference in the outcome. “[I]n truth, . . .

 very few cases will be in evidentiary equipoise,” so allocating the burden of proof often makes

 no difference. Schaffer ex rel. Schaffer v. Weast, 546 U.S. 49, 58 (2005). And in any event,

 Plaintiff has cited no case law to show that students cannot be disciplined if the school’s

 procedures do not include an explicit presumption of innocence or standard of proof. As this

 Court observed when denying Plaintiff’s application for a TRO, “there is certainly no binding

 authority or really any case the plaintiff can point to that supports his claim that he was entitled

 to the other procedural safeguards that he has referenced.” Ex. 7, 1-23-19 Tr. at 11:5-8.

        Indeed, the on-point authority goes the other way. For instance, the Supreme Court held

 in Lavine v. Milne, 424 U.S. 577 (1976), that the Due Process Clause does not require that the

 Government bear the burden of proving that welfare benefits should be denied to recipients. Id.

 at 585. The Court acknowledged that assigning the burden of proof to one side could be

 “dispositive to the litigation or application.” Id. But that did not matter. For “[o]utside the

 criminal law area, where special concerns attend, the locus of the burden of persuasion is

 normally not an issue of federal constitutional moment.” Id. (emphasis added). Criminal cases

 addressing such procedural safeguards are simply “not helpful” in administrative and civil

 settings like this one. Id. at 585 n.10. Lavine has been followed in various contexts, including

 academic settings. See Schaffer, 546 U.S. at 58 (applying Lavine to reject parents’ claim that

 “due process” under the IDEA required the school system to bear the burden of proving the

 adequacy of a student’s individualized educational program); Doe v. Univ. of Cincinnati, 173 F.

 Supp. 3d 586, 604 (S.D. Ohio 2016) (holding that due process in a university disciplinary setting



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 did not require a presumption of innocence or assigning the burden of proof to the accuser);

 Terrebonne, Ltd. v. Murray, 1 F. Supp. 2d 1050, 1058 n.6 (E.D. Cal. 1998) (“The . . . presump-

 tion of innocence is a creature of criminal proceeding; and hence, does not apply in a lawyer

 disbarment proceeding.”).

 IV.    Plaintiff fails to allege an Equal Protection violation (Count IV).

        Plaintiff’s equal-protection claim suffers many of the same fatal flaws described above.

 Plaintiff alleges generically that “Board employees investigated and punished Doe for sexual

 harassment” when similarly-situated female students were “not investigated or punished.” Am.

 Compl. at 14 (¶ 57). Because no specific facts are offered to support that conclusory assertion, it

 fails under Iqbal/Twombly. And Praprotnik also bars imposing liability on the School Board for

 the alleged actions of subordinate “Board employees” without showing that the Board ratified

 the subordinate’s action and the unconstitutional basis for it.

                                           CONCLUSION

        Failing to exercise proper gatekeeping functions under Iqbal/Twombly would mean that

 all students or parents unhappy with the discipline imposed on their children could file a federal

 lawsuit against a school board on the flimsiest allegation that it treats boys and girls differently

 or that the decision-maker acted out of gender bias. The Supreme Court has made clear that the

 pleading rules do “not unlock the doors of discovery for a plaintiff armed with nothing more than

 conclusions.” Iqbal, 556 U.S. at 678-79.

        The motion to dismiss should be granted and the case dismissed with prejudice.

                                                        Respectfully submitted,

                                                        FAIRFAX COUNTY SCHOOL BOARD


                                                        By:          /s/
                                                        Stuart A. Raphael (VSB No. 30380)

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                                                       Board

                                   CERTIFICATE OF SERVICE

         I hereby certify that on February 25, 2019, I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF system, which will send a notification of such filing (NEF)

 to counsel of record for all Parties.

                                          By:           /s/
                                                Stuart A. Raphael (VSB No. 30380)




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